Case 1:20-cv-00016-CFC Document 103 Filed 08/31/21 Page 1 of 6 PageID #: 3056




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Case 1:20-cv-00016-CFC Document 103 Filed 08/31/21 Page 2 of 6 PageID #: 3057




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Case 1:20-cv-00016-CFC Document 103 Filed 08/31/21 Page 3 of 6 PageID #: 3058




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Dated: August 24, 2021




                                     2
Case 1:20-cv-00016-CFC Document 103 Filed 08/31/21 Page 4 of 6 PageID #: 3059




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Case 1:20-cv-00016-CFC Document 103 Filed 08/31/21 Page 5 of 6 PageID #: 3060




       4.     “Guaranteed Obligations” are “any amount or amounts that may

become due and payable by Unipower . . . to PSTL pursuant to a bona fide invoice

issued by PSTL to Unipower under, and in accordance with the terms and conditions

of, the [MSA].”

       5.     The Guaranty is governed by Delaware law.

       6.     PSTL assigned all right, title, and interest in any amounts due and

payable by Unipower to Flex Jersey Limited (“Flex Jersey”).

       7.     PSTL’s assignment to Flex Jersey is “absolute and irrevocable[.]”

       8.     JMC has not breached the Guaranty because JMC has not breached an

obligation to pay to PSTL “Guaranteed Obligations” and because PSTL has not

suffered any damages.

       9.     Because JMC has not breached an obligation to PSTL imposed by the

Guaranty or suffered any damages as a result, PSTL cannot establish the second or

third elements of breach of contract under Delaware law. VLIW Tech., LLC v.

Hewlett-Packard Co., 840 A.2d 606, 612 (Del. 2003) (requiring “existence of the

contract”; “breach of an obligation imposed by that contract”; and “resultant damage

to the plaintiff”).

       10.    Judgment is hereby entered in favor of JMC and against PSTL on

PSTL’s claim for breach of the Guaranty.

                                       __________________________
                                       United States District Judge

                                         2
Case 1:20-cv-00016-CFC Document 103 Filed 08/31/21 Page 6 of 6 PageID #: 3061




                         CERTIFICATE OF SERVICE

      I, David M. Fry, hereby certify that on August 24, 2021, this document was

served on the persons listed below in the manner indicated:

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